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                          United States District Court
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
V.                                              §             CRIMINAL NO. 3:19-CR-00376-S
                                                §
SALVADOR SANDOVAL-REYES (1)                     §

        ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
     UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a
Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation Concerning
Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed
within 14 days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge
is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea
of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the
plea of guilty, and SALVADOR SANDOVAL-REYES is hereby adjudged guilty of 21 U.S.C. §
841(a)(1), (b)(1)(B) Possession with Intent to Distribute a Controlled Substance. Sentence will be
imposed in accordance with the Court's Scheduling Order.

☒      The Defendant is ordered to remain in custody.

☐      The Court adopts the findings of the United States Magistrate Judge by clear and
       convincing evidence that the Defendant is not likely to flee or pose a danger to any other
       person or the community if released and should therefore be released under 18 U.S.C. §
       3142(b) or (c).

☐      Upon motion, this matter shall be set for hearing before the United States Magistrate Judge
       who set the conditions of release for determination, by clear and convincing evidence, of
       whether the Defendant is likely to flee or pose a danger to any other person or the
       community if released under § 3142(b) or (c).

☐      The Defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The Defendant
       shall self-surrender to the United States Marshal no later than Select Date.

☐      The Defendant is not ordered detained pursuant to § 3143(a)(2) because the Court finds:
       ☐      There is a substantial likelihood that a motion for acquittal or new trial will be
       granted, or
       ☐      The Government has recommended that no sentence of imprisonment be imposed,
              and
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